 Case
  Case2:10-cr-00547-RFB-PAL
        2:10-cr-00547-RLH-PAL Document
                              Document941  Filed07/28/15
                                       940 Filed 07/29/15 Page
                                                           Page11
                                                                ofof
                                                                   22



 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     NISHA BROOKS-WHITTINGTON
 3   Assistant Federal Public Defender
     411 E. Bonneville Avenue, Suite 250
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax
 6   Attorneys for Shawn Newkirk
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA
10                                                   ***
11
      UNITED STATES OF AMERICA,                                    2:10-cr-547-RLH-PAL-27
12
                     Plaintiff,                              STIPULATION TO EXTEND
13                                                       DEADLINES IN THIS COURT’S JULY 2,
      vs.                                                         2015 ORDER BY
14                                                             FORTY-FIVE (45) DAYS
      SHAWN NEWKIRK,
15
                     Defendant.
16
17          The United States of America, by Assistant United States Attorney Elizabeth Olson White,

18   and Defendant Shawn Newkirk, by Assistant Federal Public Defender Nisha Brooks-Whittington,

19   submit the following Joint Stipulation to extend, by forty-five (45) days, all of the deadlines set in

20   this Court's Order dated July 2, 2015. See CR 935.

21          The parties agree and stipulate to the following:

22          1.      On November 13, 2012, this Court sentenced Defendant to 48 months' imprisonment

23   on his conviction for drug-related offenses. CR 722.

24          2.      On February 27, 2015, Defendant filed a pro se motion for a reduction of sentence

25   pursuant to 18 U.S.C. § 3582(c)(2) in light of Guidelines Amendment 782. CR 906.

26          3.      On March 3, 2015, this Court issued an Order appointing the Federal Public Defender

27   to represent Defendant, and setting deadlines. Specifically, the Court ordered the Probation Office

28   to provide certain documents to the parties within 30 days (i.e., by April 2, 2015) and ordered the
 Case
  Case2:10-cr-00547-RFB-PAL
        2:10-cr-00547-RLH-PAL Document
                              Document941  Filed07/28/15
                                       940 Filed 07/29/15 Page
                                                           Page22
                                                                ofof
                                                                   22



 1   Federal Public Defender to file any appropriate motion or stipulation within 120 days (i.e., by July
 2   1, 2015). CR 907.
 3          4.      On July 1, 2015, the parties filed a joint stipulation to extend the deadlines in this
 4   Court’s March 3, 2015 Order by 30 days. CR 933. On July 2, 2015, the Court granted the
 5   stipulation. CR 935.
 6          5.      Defense counsel ordered the sentencing transcript in this case. The parties anticipate
 7   receiving the sentencing transcript soon. The parties are seeking an additional forty-five (45) days
 8   to obtain and then review the sentencing transcript to determine the guideline calculations.
 9          6.      For the reasons stated above, the parties respectfully request the Court issue an order
10   extending the deadlines in the Court's July 2, 2015 Order, by forty-five (45) days.
11          DATED this 28th day of July, 2015.
12          Respectfully submitted,
13
14          RENE L. VALLADARES                                     DANIEL G. BOGDEN
            Federal Public Defender                                United States Attorney
15
             /s/ Nisha Brooks-Whittington                          /s/ Elizabeth O. White
16           ______________________________                        __________________________
             NISHA BROOKS-WHITTINGTON,                             ELIZABETH O. WHITE,
17           Assistant Federal Public Defender                     Appellate Chief and
                                                                   Assistant United States Attorney
18
19
      IT IS SO ORDERED.
20
21    ______________________________
22    UNITED STATES DISTRICT JUDGE

23    DATED: July 29, 2015
24
25
26
27
28

                                                      2
